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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 GENTEX CORPORATION, a Delaware
 Corporation,

                 Plaintiff,                            Case No. 1:19-cv-00921-MN

   v.

 GALVION LTD., a Delaware
 corporation; and GALVION, INC., a
 Canadian company,

                 Defendants.


                                    JOINT STATUS REPORT

        Pursuant to this Court’s June 28, 2022 Minute Entry, the parties hereby submit the

following joint status report.

        The parties have converted the document entitled Gentex v. Galvion Term Sheet executed

on June 23, 2022 into a full settlement agreement. The parties anticipate filing a stipulation of

dismissal by October 31, 2022. Insofar as a stipulation of dismissal is not filed by that date, the

parties agree to submit a joint status report by that date to apprise the Court of the parties’ status.



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Dated: October 11, 2022
